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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA


  SONY MUSIC ENTERTAINMENT, et al.,


              Plaintiffs,
                                              Case No. 1:18-cv-00950-LO-JFA
        v.

  COX COMMUNICATIONS, INC. and
  COXCOM, LLC.


              Defendants.



      COX’S OPPOSITION TO PLAINTIFFS’ MOTION FOR JUDICIAL NOTICE
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 I.       INTRODUCTION
          Plaintiffs’ request for judicial notice is deficient and should be denied for the following

 reasons.

          First, while the Court took judicial notice in BMG of information from the Copyright

 Office’s website relating to only two registration certificates covering two works (out of the more

 than 1,100 works asserted in that case), Plaintiffs ask the Court here to take judicial notice of

 hundreds of unidentified documents that cover thousands of unidentified works. Plaintiffs cite no

 support for the Court doing so in a case such as this. Moreover, in BMG, information from the

 Copyright Office’s website was offered to remedy facial deficiencies with respect to these two

 Copyright Office registration certificates that BMG had produced during discovery.              Here,

 Plaintiffs have not produced a single Copyright Office registration certificate for the impacted

 works. Instead, the unidentified documents of which Plaintiffs ask the Court take judicial notice

 constitute their only purported proof of copyright validity and ownership for thousands of works.

          Second, judicial notice of these documents at this stage in the litigation would prejudice

 Cox. Plaintiffs, which characterize themselves as the “leading record companies and music

 publishers of the world, and [] the owners and stewards of the copyrighted works of the most

 legendary artists and songwriters of our time,”1 decided to bring this case in which they assert

 infringement of more than 10,000 works allegedly owned by more than 50 separate entities. Yet

 they completely fail to explain in their two-and-a-half-page memorandum why they do not possess

 the most basic proof of their claims—registration certificates for all of the works in this case. They

 also entirely fail to acknowledge that they could have easily requested these certificates from the

 Copyright Office. Yet they did not do so at any point in time, including after Cox flagged this



 1
     ECF No. 325, ¶ 1.
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 deficiency at the very commencement of discovery. It is irrelevant that summary judgment is

 pending: Plaintiffs could have sought clarity on this issue at any point in time. Plaintiffs should

 not be rewarded for their failure to take these basic actions in a case of this magnitude.

        Third, contrary to Plaintiffs’ assertion, they have not provided the Court with the

 “necessary information” to support judicial notice as required by Federal Rule of Evidence

 201(c)(2). Instead, Plaintiffs simply point to declarations filed in support of their motion for

 summary judgment to which thousands of documents were attached. As a preliminary matter, it

 is improper to rely on information submitted with one motion in another. More critically, Plaintiffs

 do not specify which of these thousands of documents they ask the Court to judicially notice. Thus,

 the Court (like Cox) is left to wade through thousands of documents to determine which are subject

 to this motion. Plaintiffs’ motion should be denied for this reason alone.

        Finally, even if the Court decides to take judicial notice of these documents, the documents

 should not be deemed to constitute prima facie evidence of copyrights’ validity, or Plaintiffs’

 ownership of them. Such a reading would be contrary to the plain language of the Copyright Act,

 which provides that “the certificate of a registration … shall constitute prima facie evidence of the

 validity of the copyright and of the facts stated in the certificate.” 17 U.S.C. § 410(c) (emphases

 added). Plaintiffs cite no authority that would support the Court holding that the mere presence of

 entries in the Copyright Office’s database is tantamount to providing “the certificate[s]” covering

 thousands of works for which Plaintiffs failed to provide proper documentation.

        For these reasons, Plaintiffs’ motion should be denied in its entirety or, in the alternative,

 the documents should not be deemed to constitute prima facie evidence of validity and ownership.




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 II.    ARGUMENT
        A.      Plaintiffs Failed to Establish that Judicial Notice is Appropriate Here.

                1.      Plaintiffs cite no authority for the Court to take judicial notice of
                        hundreds of documents covering thousands of works in suit.

        Plaintiffs misleadingly argue that “[c]ourts, including this one, have consistently found that

 U.S. Copyright Office’s Public Copyright Database records meet the requirements of Rule 201

 and take judicial notice thereof.” ECF No. 284 at 2. In BMG, Cox opposed BMG’s motion for

 partial summary judgment on ownership of more than 1,100 works in suit by highlighting, in part,

 that just two of BMG’s produced registration certificates were facially deficient—one had

 handwriting regarding the identity of the claimant and the other was missing multiple pages. See

 BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634, 646-647 (E.D. Va.

 2015). On reply, BMG pointed the Court to the Copyright Office’s directory, the information from

 which the Court took judicial notice to remedy these facial defects for these two registration

 certificates (which covered only two works). Id. While other courts have taken judicial notice of

 information from the Copyright Office’s directory, including in the cases cited by this Court in its

 decision on summary judgment in BMG, see id., Plaintiffs cite no authority for a court taking

 judicial notice of the hundreds of documents covering thousands of works, as requested here. They

 also cite no support for a court taking blind judicial notice, as requested here, where the documents

 subject to the request are not even identified.

                2.      Plaintiffs’ failure to produce hundreds of certificates covering
                        thousands of works and delay in seeking judicial notice is inexcusable.

        Plaintiffs consider themselves “stewards of the copyrighted works of the most legendary

 artists and songwriters of our time.” ECF 325, ¶ 1. They also claim that “[a]s a matter of corporate

 practice and policy, Plaintiffs protect their copyrights, including through registrations with the U.S.

 Copyright Office ….” Id., ¶ 2. But Plaintiffs nevertheless failed to produce hundreds of

                                                   3
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 registration certificates impacting thousands of their works. While Plaintiffs claim that Cox

 “would not suffer any prejudice from granting this request,” they do not explain why they do not

 possess this basic information or why they decided not to seek it from the Copyright Office during

 (or before) discovery. For the reasons below, Plaintiffs’ failure to produce these certificates is

 inexcusable and Plaintiffs’ motion should be denied.

        The Copyright Office provides (albeit for a fee) that “[a]nyone can request additional

 certificates of copyright registration ….” Circular 6, Obtaining Access to and Copies of Copyright

 Office Records and Deposits; see also 37 C.F.R. § 201.2(d)(iv).2 The Copyright Office further

 explains that an “additional certificate has the same legal or evidentiary effect as the original

 certificate” but it does not reference printouts from its website. See id. (emphasis added). Plaintiffs

 fail to explain in their motion why they did not possess these certificates in the first place or why

 they decided not to pay the fee to obtain additional certificates from the Copyright Office. Indeed,

 Plaintiffs had ample time do so, as they discovered in December 2018 (at the latest) that they

 lacked hundreds of certificates.3

        Moreover, while Plaintiffs claim “taking judicial notice of this information … will

 conserve resources, foster resolution at summary judgment, and narrow issues for clearer

 presentation at trial,” they fail to explain what resources might be conserved, why this would foster

 resolution at summary judgment, what issues would be narrowed, or, critically, why they did not

 request that the Court take judicial notice of these documents before discovery ended in this case.

 As discussed above, it is indisputably each Plaintiff’s burden to establish its standing to sue Cox




 2
   Available at https://www.copyright.gov/circs/circ06.pdf (last visited Sept. 10, 2019).
 3
   Plaintiffs stated in December 2018 that “if a certificate is not readily accessible,” they were
 instead producing “a look-up page evidencing registration printed from the U.S. Copyright
 Office’s website.”
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 for the alleged infringement of the more than 10,000 works these 50-plus entities assert. Only a

 copyright registration certificate serves as prima facie evidence of validity and ownership. 17

 U.S.C. § 401(c). Thus, had Plaintiffs intended to rely solely on these documents to attempt to

 establish as much, they should have sought clarity from the Court to do so before the end of

 discovery.

        Plaintiffs—a collection of the most established companies in the music industry—should

 not be rewarded for these failures. The decision to take judicial notice is squarely in the discretion

 of the Court and it should be denied here. See Haavistola v. Cmty. Fire Co. of Rising Sun, 6 F.3d

 211, 218 (4th Cir. 1993) (decision to take judicial notice within the court’s discretion).

                3.      Plaintiffs failed to comply with Federal Rule of Evidence 201(c)(2).

        Federal Rule of Evidence 201(c)(2) states that “[t]he court … must take judicial notice if a

 party requests it and the court is supplied with the necessary information.” Fed. R. Evid. 201(c)(2).

 A court may decline to take judicial notice where the necessary information is not provided. See,

 e.g., Murray v. Dobyns, No. 1:12-CV-214, 2013 WL 3326661, at *4 (M.D.N.C. July 1, 2013)

 (“The court does not have enough ‘necessary information’ to sufficiently determine the accuracy

 of the exhibits for the purposes of judicial notice.”).

        Here, Plaintiffs do not identify any of the documents for which they ask the Court to take

 judicial notice. Plaintiffs also fail to disclose in their motion that they ask the Court do so with

 respect to hundreds of documents that impact thousands of works. Rather, Plaintiffs request that

 the Court “take judicial notice of copyright registration information from the U.S. Copyright

 Office’s Public Copyright Database” and vaguely and misleadingly explain that “copies of the

 registrations that are the subject of this Request have been supplied to the Court as exhibits to the

 declarations of Jeremy Blietz, David Kokakis, Wade Leak, Alasdair McMullan, Anish Patel, and


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 Steven Poltorak,” which were filed in support of Plaintiffs’ motion for summary judgment. ECF

 No. 284 at 2. Even if it were proper to look to these declarations and the thousands of documents

 attached thereto (which it is not), the declarations themselves do not identify which documents are

 subject to Plaintiffs’ motion.4 The declarations simply lump together copies of Copyright Office

 registration certificates with purported printouts from the Copyright Office’s website. Plaintiffs

 have therefore failed to provide the Court with the “necessary information” with which to take

 judicial notice. Plaintiffs’ request should be denied for this reason alone.

        B.      If the Court Takes Judicial Notice, the Subject Documents Do Not Establish
                Prima Facie Validity and Ownership of the Impacted Works-in-Suit.

        If the Court decides to take judicial notice of the hundreds of unidentified printouts from

 the Copyright Office’s website covering thousands of unidentified works, it should reject

 Plaintiffs’ request that these documents constitute prima facie evidence of validity and ownership.

 See ECF 284 at 3; see also ECF 235 at 18, n.6 (requesting judicial notice of the same).

        The Copyright Act provides that “the certificate of a registration made before or within

 five years after first publication shall constitute prima facie evidence of the validity of the

 copyright and of the facts stated in the certificate.” 17 U.S.C. § 410(c) (emphases added); see also

 ECF 235 at 17-18. But Plaintiffs urge the Court to ignore the statute’s plain language, sift through

 their thousands of documents to locate printouts from the Copyright Office’s website, and give

 them an evidentiary weight far exceeding anything contemplated by Congress or permitted under

 the Federal Rules of Evidence.




 4
  Neither the declarations nor the exhibits thereto were filed on the docket. Rather, per the
 Court’s order, Plaintiffs were permitted to file these documents via hard drive. See ECF 246.
 There are six separate declarations. Attached to each one are thousands of documents located in
 dozens of sub-folders.
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        In doing so, Plaintiffs also fail to acknowledge that “[t]he consequences of a court

 taking judicial notice are significant …. [A] ‘tradition of circumspection’ surrounds judicial

 notice of adjudicative facts, and courts should exercise caution in taking judicial notice, doing so

 only when the matter is beyond reasonable controversy.” Loftus v. F.D.I.C., 989 F. Supp. 2d 483,

 490 (D.S.C. 2013) (quoting Advisory Committee Notes to Rule 201).5

        Plaintiffs’ request here is not “beyond reasonable controversy” warranting judicial notice.

 Indeed, while Plaintiffs cite no case in which a court has taken judicial notice of this magnitude of

 documents to establish standing, other courts have found that printouts from the Copyright Office’s

 website do not constitute prima facie evidence of validity and ownership, particularly where no

 other proof is provided, as is the case here. See, e.g., Patrick Collins, Inc. v. Suter, No. CV 12-

 971 (BAH), 2013 WL 12324538, at *3 (D.D.C. Sept. 1, 2013) (“This Court is skeptical that the

 proffered screen shots of the Copyright Office’s database of registered copyrights, which is all the

 plaintiff has provided in this case, is sufficient proof of a certificate of copyright registration to

 cloak the plaintiff with the attendant benefits regarding prima facie evidence of the validity of the

 copyright and of the facts stated in the certificate, under 17 U.S.C. § 410(c).”); Malibu Media v.

 Parsons, No. 12-cv-1331, ECF No. 27, (D.D.C. May 31, 2013) (“A screen shot of the Copyright

 Office’s database of registered copyrights, which is all the plaintiff has provided in this case, does

 not constitute a certificate of copyright registration, with the attendant benefits regarding prima

 facie evidence of the validity and ownership of the copyright.”).




 5
   In describing the potential prejudice from a court taking judicial notice, the Loftus court
 explained that “[w]here the trial court has taken judicial notice of a fact in a civil matter, the
 judge must instruct the jury to accept that fact as conclusive. A court taking judicial notice may
 also preclude the introduction of evidence to disprove the noticed fact.” See id. (citing Fed. R.
 Evid. 201(g)).
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         Plaintiffs also ignore the fact that certificates of registration do not constitute prima facie

  evidence of ownership or validity where they are obtained more than five years after the date of

  first publication. See 17 U.S.C. § 401(c). Instead, the Copyright Act states that “[t]he evidentiary

  weight to be accorded the certificate of a registration made thereafter shall be within the discretion

  of the court.” Id. Even if a printout from the Copyright Office’s website satisfied the Copyright

  Act’s plain language, which it does not, Plaintiffs make no effort to identify which, if any, of the

  printouts they produced are entitled to this presumption.

         For these reasons, even if the Court took judicial notice of these documents, the documents

  should not be deemed to constitute prima facie evidence of validity and ownership.

  III.   CONCLUSION
         For the foregoing reasons, Cox respectfully requests the Court deny Plaintiffs’ motion for

  judicial notice of the unidentified printouts from the Copyright Office’s website. In the alternative,

  should the Court take judicial notice of these documents, these documents should not be deemed

  to constitute prima facie evidence of validity and ownership. Such a determination in this case

  would be contrary to the Copyright Act’s plain language.


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 13, 2019, the foregoing was filed and served

  electronically by the Court’s CM/ECF system upon all registered users.



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